                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Skycoin Global Foundation Limited, et al.
                                               Plaintiff,
v.                                                            Case No.: 1:22−cv−00708
                                                              Honorable Sara L. Ellis
Bradford Stephens, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 6, 2024:


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